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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                           *     CRIMINAL NO. 6:14-CR-00203-01


  VERSUS                                             *     JUDGE DRELL


  GARY HUNT (01)                                     *     MAGISTRATE JUDGE HANNA


                   REPORT AND RECOMMENDATION
                                ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure.

         This cause came before the undersigned United States Magistrate Judge for a change of plea

 hearing and allocution of the defendant, GARY HUNT, on February 5, 2016. The defendant was

 present with his counsel, Kevin Stockstill.

         After the hearing, and for the reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, and that his guilty

 plea to Count 1 of the Indictment is fully supported by a written factual basis for each of the essential

 elements of the offense.

         Additionally, the defendant waived any objection that would otherwise be available under

 28 U.S.C. § 636. (Rec. Doc. 463).

         Therefore, the undersigned United States Magistrate Judge recommends that the District

 Court ACCEPT the guilty plea of the defendant, Gary Hunt, in accordance with the terms of the plea
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 agreement filed in the record of these proceedings, and that Gary Hunt be finally adjudged guilty of

 the offense charged in Count 1 of the Indictment.

         THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, this 4th day of March

 2016.




                                               ____________________________________
                                               PATRICK J. HANNA
                                               UNITED STATES MAGISTRATE JUDGE




                                                        COPY SENT:

                                                                  3/4/2016
                                                        DATE: _________________
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